         Case 1:22-mj-00022-RMM Document 77 Filed 01/17/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
       Plaintiff,                                     )               1:22-MJ-22-RRM
                                                      )
       v.                                             )
                                                      )
HEATHER R. MORGAN,                                    )
                                                      )
      Defendant.                                      )
__________________________________________


            MOTION FOR LEAVE TO WITHDRAW AS ASSOCIATE COUNSEL

       Michael T. Collins, counsel for Heather Morgan, respectfully asks this Court for leave to

withdraw from representation in this case in accordance with Local Criminal Rule 44.5(d). In

support of this motion, he asserts the following:


       1.      Burnham & Gorokhov, PLLC is engaged to represent Ms. Morgan in the above

captioned matter.

       2.      Mr. Collins seeks to withdraw from this matter, with the consent of Ms. Morgan.

       3.      Charles Burnham and Eugene Gorokhov are the lead attorneys representing Ms.

Morgan in this matter and will continue to represent Ms. Morgan.

       4.      Mr. Collins’s withdrawal will not “unduly delay trial of the case or be unfairly

prejudicial to any party, or otherwise not be in the interests of justice.” LCrR 44.5(d).

       5.      A copy of this motion has been delivered to Ms. Morgan via email.

       6.      Ms. Morgan has waived personal service of this motion. LCrR 44.5(d).

       7.      The government, represented by Jessica Peck, does not object to this motion.
        Case 1:22-mj-00022-RMM Document 77 Filed 01/17/23 Page 2 of 3




       For the foregoing reasons, Mr. Collins respectfully asks this Court for leave to withdrawal

as counsel for Ms. Morgan.


                                            Respectfully submitted,

                                            s/ Michael T. Collins
                                            Michael T. Collins, Esq. (DC Bar No. 7606381)
                                            BURNHAM & GOROKHOV, PLLC
                                            1424 K Street NW, Suite 500
                                            Washington, D.C. 20005
                                            Tel: (202) 386-6920
                                            Fax: (202) 765-2173
                                            michael@burnhamgorokhov.com




                                                2
         Case 1:22-mj-00022-RMM Document 77 Filed 01/17/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that a copy of the motion was delivered to Ms. Morgan via email. I further certify

that a copy of this motion was delivered to all parties via ECF.

                                              s/ Michael T. Collins
                                              Michael T. Collins, Esq. (DC Bar No. 7606381)
                                              BURNHAM & GOROKHOV, PLLC
                                              1424 K Street NW, Suite 500
                                              Washington, D.C. 20005
                                              Tel: (202) 386-6920
                                              Fax: (202) 765-2173
                                              michael@burnhamgorokhov.com




                                                 3
